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                            UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. ___________


  MARIA DOLORES CANTO MARTI, as
  personal representative of the Estates of
  Dolores Marti Mercade and Fernando Canto
  Bory,

         Plaintiff,
                                                                    JURY DEMAND
  v.

  IBEROSTAR HOTELES Y
  APARTAMENTOS S.L., a Spanish limited
  liability company,

        Defendant.
  _____________________________________/


                                            COMPLAINT

         Plaintiff Maria Dolores Canto Marti, as personal representative of the Estates of Dolores

  Martí Mercadé and Fernando Canto Bory (“Plaintiff”), sues Defendant Iberostar Hoteles y

  Apartamentos S.L. (“Iberostar” or “Defendant”) and alleges as follows:

                                          INTRODUCTION

         1.      This is a civil action for damages for Defendant’s unlawful trafficking in

  Plaintiff’s property in violation of the Cuban Liberty and Democratic Solidarity (LIBERTAD)

  Act of 1996, 22 U.S.C. § 6021, et seq. (the “Act”), and specifically in violation of Title III of the

  Act, 22 U.S.C. §§ 6081-6085 (“Title III”).




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                                            PARTIES

         2.      Plaintiff Maria Dolores Canto Marti (“Maria Canto”) is a United States citizen

  and personal representative of the Estates of Fernando Canto Bory and Dolores Martí Mercadé.

         3.      Plaintiff Maria Canto is also one of Fernando Canto Bory’s and Dolores Martí

  Mercadé’s daughters and heirs who has opened both estates in Miami Dade County, Florida on

  behalf of Fernando Canto Bory’s and Dolores Martí Mercadé’s heirs.

         4.      Upon information and belief, Defendant Iberostar is a Spanish limited liability

  company with registered offices at C/ General Riera, 154, 07010 de Palma de Mallorca, and

  assigned Tax Identification Number B-28.049.344, recorded in the Business Registry of

  Mallorca in Volume 1687, Folio 59, Page PM-5191, Registration 1ª.

         5.      Upon information and belief, Defendant Iberostar, doing business as “Iberostar

  Hotels and Resorts,” operates an international hotel chain and conducts business in Miami-Dade

  County, Florida through the Iberostar Berkeley Shore Hotel, located at 1610 Collins Ave, Miami

  Beach, FL, 33139.

         6.      Upon information and belief, Defendant Iberostar also maintains a corporate

  office for its business through an affiliate located in Miami-Dade County at 9250 NW 36th

  Street, Suite 360, Doral, FL, 33178.

                                  JURISDICTION AND VENUE

         7.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this

  claim arises under the Cuban Liberty and Democratic Solidarity Act (LIBERTAD), 22 U.S.C. §

  6021, et. seq., and the amount in controversy exceeds $50,000.00, exclusive of interests, costs,

  and attorney’s fees.




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          8.       This Court has personal jurisdiction over Defendant pursuant to Sections

  48.193(1)(a)(1) and (6) of the Florida Statutes.

          9.       Venue is proper in this judicial District under 28 U.S.C. §1391(c)(2) because the

  “defendant is subject to the court’s personal jurisdiction with respect to the civil action in

  question.” 28 U.S.C. §1391(c)(2).

                                            FACTUAL BACKGROUND

      A) The Confiscated Subject Property

          10.      In March 1909, Fernando Canto Granda acquired the real property located at

  Calle Enramadas, Esq. Santo Tomás, Santiago de Cuba, Cuba, 90200.

          11.      Thereafter, in or about March 1909, Fernando Canto Granda began developing

  the building that in 1916 housed a hotel named “El Imperial” that had a restaurant and bar, as

  well as the La Francia department store, which was owned and operated by Fernando Canto

  Granda. All property1 that was located at Calle Enramadas, Esq. Santo Tomás, Santiago de Cuba,

  Cuba, 90200, and all property of the La Francia retail business is collectively referred to

  hereinafter as the “Subject Property”.

          12.      In 1942, Fernando Canto Granda died intestate in Cuba. At that moment,

  ownership of the Subject Property passed to his four heirs, two of which died thereafter with no

  descendents, thereby passing their respective interest in the Subject Property to their two living

  siblings, Fernando Canto Bory and Rosa Canto Bory, in equal parts, by operation of Cuban law.

          13.      Therefore, Fernando Canto Bory inherited a one-half interest in the Subject

  Property.



  1
    In the Act and hereinafter, “property” means “any property (including patents, copyrights, trademarks, and any
  other form of intellectual property), whether real, personal, or mixed, and any present, future, or contingent right,
  security, or other interest therein, including any leasehold interest.” 22 U.S.C. § 6023(12)(A).

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           14.      In 1961, with the adoption of a series of Cuban laws published in the Cuban

  Official Gazette2, the communist Cuban Government3 nationalized, expropriated, and seized

  ownership and control of the Subject Property without authorization by or compensation to the

  Subject Property rightful owners, thereby confiscating4 the Subject Property.

           15.      At such time, Fernando Canto Bory became the owner of a one-half interest in the

  claim to the confiscated Subject Property.

           16.      Fernando Canto Bory was a U.S. citizen as of 1972 and later died in San Juan,

  Puerto Rico in 1992.

           17.      Upon his death, Fernando Canto Bory’s interest in the claim to the Subject

  Property passed to his wife, Dolores Martí Mercadé, who was also a U.S. citizen as of 1972.

           18.      Thereafter, Dolores Martí Mercadé died on February 27, 2007.

           19.      To the extent such interest in the claim to the confiscated Subject Property did not

  ultimately transfer to Dolores Martí Mercadé, the Estate of Fernando Canto Bory maintains and

  owns such remainder interest.



  2
    Laws 851 and 890 authorized the Cuban government to expropriate the property of U.S. nationals as well as Cuban
  owned industries, businesses, and large corporations including the Subject Property. See CUBA, DE DIVULAGCION
  LEGISLATIVA – LEYES DEL GOBIERNO PROVISIONAL DE LA REVOLUCION XXV 1 A DE OCTUBRE DE 1960, 35, Editorial
  Lex – La Habana, Noviembre 1960; See also Rolando Anillo-Badia, Outstanding Claims to Expropriated Property
  in Cuba, ASCE, (Nov. 30, 2011), https://www.ascecuba.org/asce_proceedings/outstanding-claims-to-expropriated-
  property-in-cuba/.
  3
    In the Act and hereinafter, the “Cuban Government” is defined as “any political subdivision of Cuba, any agency
  or instrumentality of the Government of Cuba.” 22 U.S.C. § 6023(5)(A).
  4
    In the Act and hereinafter, the term “confiscated” refers to:
  “(A) the nationalization, expropriation, or other seizure by the Cuban Government of ownership or control of
  property, on or after January 1, 1959—
  (i) without the property having been returned or adequate and effective compensation provided; or
  (ii) without the claim to the property having been settled pursuant to an international claims settlement agreement or
  other mutually accepted settlement procedure; and
  (B) the repudiation by the Cuban Government of, the default by the Cuban Government on, or the failure of the
  Cuban Government to pay, on or after January 1, 1959—
  (i) a debt of any enterprise which has been nationalized, expropriated, or otherwise taken by the Cuban Government;
  (ii) a debt which is a charge on property nationalized, expropriated, or otherwise taken by the Cuban Government; or
  (iii) a debt which was incurred by the Cuban Government in satisfaction or settlement of a confiscated property
  claim.” 22 U.S.C. § 6023(4).

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           20.       To date, the Cuban Government has failed to return the Subject Property to

  Plaintiff and continues to possess and use the Subject Property without any authorization by or

  compensation to Plaintiff.

           21.       Decedent Fernando Canto Bory, decedent Dolores Martí Mercadé, and their heirs

  never abandoned their legitimate interest in the Subject Property.

           22.       In accordance with the Act, decedents Fernando Canto Bory and Dolores Martí

  Mercadé were not eligible to file a claim with the Foreign Claims Settlement Commission under

  Title V of the International Claims Settlement Act of 1949 (22 U.S.C. § 1643 et seq.) because

  Fernando Canto Bory and Dolores Martí Mercadé were not U.S. citizens at the time the Subject

  Property was confiscated.

           23.       Nonetheless, the value of Plaintiff’s claim is well in excess of the Act’s

  $50,000.00 requirement. See 22 U.S.C. §6082(b).

           24.       The claim to the Subject Property has not been settled pursuant to an international

  claims settlement agreement or other settlement procedure.

           25.       Upon information and belief, since it confiscated the Subject Property, the Cuban

  Government has continued to operate and manage a hotel on and using the Subject Property,

  thereby trafficking5 in the Subject Property by, including but not limited to, knowingly and

  intentionally: 1) acquiring, holding an interest in, managing, possessing, obtaining control of,

  and using the confiscated Subject Property; 2) engaging in commercial activity using and


  5
    As used in Title III of Act and hereinafter, an entity “‘traffics’ in confiscated property if that person knowingly
  and intentionally—
  (i) sells, transfers, distributes, dispenses, brokers, manages, or otherwise disposes of confiscated property, or
  purchases, leases, receives, possesses, obtains control of, manages, uses, or otherwise acquires or holds an interest in
  confiscated property,
  (ii) engages in a commercial activity using or otherwise benefiting from confiscated property, or
  (iii) causes, directs, participates in, or profits from, trafficking (as described in clause (i) or (ii)) by another person,
  or otherwise engages in trafficking (as described in clause (i) or (ii)) through another person, without the
  authorization of any United States national who holds a claim to the property.” 22 U.S.C. § 6023(Sec. 4)(13).

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  benefitting from the confiscated Subject Property, in part by entering into commercial

  arrangements with Iberostar, and other entities, to use and otherwise benefit from the confiscated

  Subject Property; and 3) causing, directing, participating in, and profiting from its commercial

  arrangements with Iberostar and other entities to use and benefit from the confiscated Subject

  Property, without any authorization by or compensation to Plaintiff.

      B) Defendant’s Wrongful Trafficking in the Confiscated Subject Property

          26.      Upon information and belief, since at least as early as November 2016 Iberostar

  has been blatantly trafficking in the confiscated Subject Property.

          27.      Upon information and belief, beginning approximately November 2016, Iberostar

  entered into a commercial arrangement with the Cuban Government to co-manage and co-

  operate the Iberostar Imperial hotel6, which currently includes the La Francia Restaurant,

  Parrillada La Joya Snack Bar, Don Fernando Lobby Bar, and El Dorado Roof Garden, all of

  which sit on and are part of the Subject Property.

          28.      In co-managing and co-operating the Iberostar Imperial Hotel, Iberostar has been

  and is currently engaging in commercial activity using and otherwise benefitting from the

  Subject Property.

          29.      Such commercial activity and benefits include, but are not limited to: a)

  generating revenue from leasing rooms in the Iberostar Imperial Hotel to hotel guests; b)

  marketing and advertising the Iberostar Imperial Hotel and transacting with third parties for the

  same; c) using the Iberostar Imperial Hotel to market and advertise the “Iberostar” mark and

  brand; d) entering into numerous commercial agreements with third parties such as the Online

  Booking Providers (defined and more fully discussed below) to lease Iberostar Imperial Hotel


  6
   Recently, Defendant changed the marketing of the Iberostar Imperial hotel to the “Iberostar Cubanacan Imperial”
  and the “Cubanacan Imperial” hotel (collectively hereinafter defined as “Iberostar Imperial Hotel”).

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  rooms to hotel guests through the Online Booking Providers’ (defined below) respective

  websites; and e) transacting with the Cuban Government as is required to co-operate and co-

  manage the Iberostar Imperial Hotel.

          30.     In addition, since at least as early as November 2016, Iberostar, by co-operating

  and co-managing the Iberostar Imperial Hotel in conjunction with the Cuban Government and

  generating revenue therefrom, is causing, directing, participating in, and profiting from the

  Cuban Government’s use of the Subject Property.

          31.     Iberostar merely added its “Iberostar” mark to the original Imperial hotel name

  when the hotel reopened its doors as the Iberostar Imperial Hotel in approximately November

  2016.

          32.     Therefore, Iberostar is using and otherwise benefitting from the “Imperial” mark,

  brand, and the goodwill associated therewith, of the hotel that operated within the Subject

  Property.

          33.     Moreover, Iberostar is using and otherwise benefitting from Plaintiff’s “La

  Francia” mark by adopting it as the name of its La Francia restaurant without obtaining

  authorization or providing compensation to the rightful owners of the Subject Property, including

  to Plaintiff.

          34.     In addition, Iberostar named the Iberostar Imperial Hotel lobby bar “Don

  Fernando Lobby Bar” after decedent Fernando Canto Bory without having obtained decedent

  Fernando Canto Bory’s or Plaintiff’s authorization to use decedent Fernando Canto Bory’s

  name—a clear indication of Iberostar intentionally and knowingly engaging in commercial

  activity using and otherwise benefitting from the Subject Property.




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         35.     Moreover, upon information and belief, as previously mentioned, Iberostar has

  entered into commercial agreements with a host of corporations that own and operate travel

  booking websites (the “Online Booking Providers”), whereby the Online Booking Providers

  provide room booking services for the Iberostar Imperial Hotel and market and advertise the

  Iberostar Imperial Hotel and its features for the Online Booking Providers’ own profit and

  benefit, including in the form of fees and commissions, for the bookings completed on their

  websites.

         36.     The Online Booking Providers include, but are not limited to Booking Holdings

  Inc., which owns and operates the websites booking.com and kayak.com, and Expedia Group,

  Inc., which owns and operates the website expedia.com, and owns other entities that operate

  hotels.com, orbitz.com, travelocity.com, trivago.com, and cheaptickets.com.

         37.     Therefore, the Online Booking Providers have entered into commercial

  arrangements with Iberostar and/or the Cuban Government at least as early as November 2016 to

  both use and benefit from the confiscated Subject Property without authorization by or

  compensation to Plaintiff.

         38.     As such, the Online Booking Providers have also been causing, furthering,

  participating in, and profiting from Iberostar’s and the Cuban Government’s engagement in

  commercial activity using or otherwise benefitting from the Subject Property.

         39.     And, in turn, Iberostar has been causing, furthering, participating in, and profiting

  from the Online Booking Providers’ engagement in commercial activity using or otherwise

  benefitting from the Subject Property.




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      C) Defendant’s Liability Under the Act

            40.    At all times, Defendant has so knowingly and intentionally used the Subject

  Property without Plaintiff’s authorization in violation of Title III of the Act.

            41.    Plaintiff timely provided Defendant written notice at least thirty days prior to

  commencing this action of Plaintiff’s intent to commence this action with respect to the Subject

  Property in accordance with 22 U.SC. § 6082(a)(3).7

            42.    Despite Plaintiff’s notice, Defendant continues to knowingly and intentionally use

  and benefit from the Subject Property without authorization by or compensation to Plaintiff.

            43.    Accordingly, Iberostar has and continues to violate the Act by trafficking in the

  Subject Property after the enactment of the Act, including after being notified of Plaintiff’s intent

  to commence this action. Plaintiff is therefore entitled to all relief available under the Act,

  including actual damages, treble damages, prejudgment and post-judgment interest, costs and

  reasonable attorney’s fees, pursuant to 22 U.S.C. § 6082.


                   COUNT I – TRAFFICKING IN CONFISCATED PROPERTY
                                  UNDER 22 U.S.C. § 6082
                        Against Iberostar Hoteles y Apartamentos S.L.

            44.    Plaintiff incorporates by reference paragraphs 1 through 43 as if fully stated

  herein.

            45.    This claim is brought pursuant to Title III of the Act, 22 U.S.C. § 6082.

            46.    Plaintiff is a U.S. national that owns the claim to one-half interest in the Subject

  Property that was confiscated by the Cuban Government after January 1, 1959.

            47.    Iberostar is a “person” under the Act, as defined by 22 U.S.C. § 6023(Sec. 4)(11).



  7
   Plaintiff provided notice and demand letter to Iberostar, as required by 22 U.S.C §6082(a)(3), on June 26, 2019.
  This complaint was filed more than six months thereafter.

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          48.      Beginning at least on or about November 2016, as alleged above, Iberostar’s

  conduct constitutes trafficking as defined in the Act. And, Iberostar’s conduct does not fall under

  any of the exclusions to the term “traffics” under 22 U.S.C. §6023(Sec. 4)(13)(B).8

          49.      Particularly, Iberostar knowingly and intentionally entered into a commercial

  arrangement with the Cuban Government whereby it manages and operates the Iberostar

  Imperial Hotel, which is on and part of the Subject Property, in conjunction with the Cuban

  Government for revenue and for purposes of increasing its international foothold and brand

  value, thereby using and benefitting from the Subject Property.

          50.      Also, upon information and belief, Iberostar entered into a commercial

  arrangement with the Cuban Government whereby it manages and operates La Francia

  Restaurant, which is part of the Subject Property, for revenue, thereby further using and

  benefitting from the Subject Property.

          51.      Moreover, upon information and belief, Iberostar entered into a commercial

  arrangement with the Cuban Government whereby it manages and operates the Parrillada La

  Joya Snack Bar, which is part of the Subject Property, for revenue, thereby further using and

  benefitting from the Subject Property.

          52.      And, upon information and belief, Iberostar entered into a commercial

  arrangement with the Cuban Government whereby it manages and operates the Don Fernando

  Lobby Bar, which is part of the Subject Property, for revenue, thereby further using and

  benefitting from the Subject Property.

  8
    Pursuant to the Act, the term “‘traffics’ does not include--
  (i) the delivery of international telecommunication signals to Cuba;
  (ii) the trading or holding of securities publicly traded or held, unless the trading is with or by a person
  determined by the Secretary of the Treasury to be a specially designated national;
  (iii) transactions and uses of property incident to lawful travel to Cuba, to the extent that such
  transactions and uses of property are necessary to the conduct of such travel; or
  (iv) transactions and uses of property by a person who is both a citizen of Cuba and a resident of Cuba,
  and who is not an official of the Cuban Government or the ruling political party in Cuba.” 22 U.S.C. §6023(13)(B).

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         53.     Iberostar’s use of the “Imperial” hotel name that operated within the Subject

  Property, Plaintiff’s original La Francia department store name as the name of its hotel

  restaurant, and decedent Fernando Canto Bory’s name as part of the name of its Don Fernando

  Lobby Bar clearly demonstrates Iberostar’s knowing and intentional use of the Subject Property.

         54.     Furthermore, upon information and belief, Iberostar entered into a commercial

  arrangement with the Cuban Government whereby it manages and operates the El Dorado Roof

  Garden, which is part of the Subject Property, for revenue, thereby further using and benefitting

  from the Subject Property.

         55.     In addition, Iberostar has been trafficking in the Subject Property by, upon

  information and belief, knowingly and intentionally entering into commercial arrangements with

  the Online Booking Providers whereby Iberostar benefits and profits from the Online Booking

  Providers’ trafficking in the Subject Property through the Online Booking Providers’ provision

  of online room booking services for and marketing and advertising for the Iberostar Imperial

  Hotel and its features.

         56.     Therefore, Iberostar has knowingly and intentionally generated revenues, obtained

  profits, and realized benefit from its various unlawful uses of the Subject Property.

         57.     Accordingly, beginning in November 2016 at the latest, Iberostar has been

  trafficking, as is defined by the Act, in the Subject Property in violation of Title III of the Act

  through, at a minimum, knowingly and intentionally: (i) managing, possessing, leasing, and

  using the Subject Property; (ii) engaging in commercial activity using or otherwise benefitting

  from the Subject Property; and (iii) causing, directing, participating in, and profiting from,

  trafficking in the Subject Property by another person, including the Cuban Government and the

  Online Booking Providers.



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         58.     At all times, Iberostar has used the Subject Property without Plaintiff’s

  authorization in violation of Title III of the Act. 22 U.S.C. § 6023(Sec. 4)(13).

         59.     Iberostar has engaged in such unlawful trafficking since at least as early as

  November 2016, which is after November 1, 1996, the effective date of the Act.

         60.     Iberostar was never granted authorization, through federal regulations or

  otherwise, to engage in any of its uses of the Subject Property.

         61.     Plaintiff has provided Iberostar with notice of its intent to commence this action

  in accordance with the requirements of the Act.

         62.     However, despite Plaintiff’s notice to Iberostar of its intent to commence this

  action, Iberostar continues to traffic in the Subject Property by knowingly and intentionally using

  and benefitting from the Subject Property as detailed above.

         63.     Therefore, Plaintiff is entitled to all money damages allowable under 22 U.S.C. §

  6082(a), including, but not limited to, those equal to the sum of:

          a) The amount which is the greater of: I) the amount, if any, certified to the claimant by

               the Foreign Claims Settlement Commission under the International Claims

               Settlement Act of 1949, plus interest; (II) the amount determined pursuant to 22

               U.S.C. § 6083(a)(2), plus interest; or (III) the fair market value of the Subject

               Property, calculated as being either the current value of the property, or the value of

               the property when confiscated plus interest, whichever is greater;

          b) Three times the amount determined above (treble damages); and

          c) Court costs and reasonable attorneys’ fees.




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         WHEREFORE, Plaintiff demands judgment against Iberostar Hoteles y Apartamentos

  S.L., for damages, including treble damages, plus interest, attorneys’ fees, court costs, and for

  such other and further relief as this Court deems just and proper.



                                   RESERVATION OF RIGHTS

         Plaintiff reserves the right to amend the Complaint to add any other appropriate claims as

  additional facts are obtained through investigation and discovery.

                                   DEMAND FOR JURY TRIAL

         Plaintiff demands a jury trial on all issues so triable by a jury.

  DATED this 8th day of January 2020.

                                          Respectfully submitted,

                                          Joseph I. Zumpano
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